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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                                _________

EDWARD W. REYNOLDS, et al.,

       Plaintiffs,

v.                                            Hon. Paul L. Maloney
                                              Hon. Phillip J. Green
GREG TALBERG, et al.,                         Case No. 1:18-cv-00069-PLM-PJG

       Defendants,

WILLIAMSTON HIGH SCHOOL GAY-
STRAIGHT ALLIANCE,

       Intervenor-Defendant.
________________________________/

                                     ORDER

      This matter is before the Court on a motion to intervene by Stand with Trans

and the Williamston High School Gay-Straight Alliance. (ECF No. 8). Defendants

do not oppose the motion. Plaintiff’s do, and they have filed a response. (ECF No.

16). With leave of Court, movants filed a reply. (ECF No. 23). The Court conducted

a hearing today at which all interested parties appeared. Having considered the oral

and written submissions, and for the reasons stated on the record in open court, the

motion to intervene (ECF No. 8) is GRANTED in part and DENIED in part.

Accordingly,

      IT IS ORDERED that the Williamston High School Gay-Straight Alliance is

GRANTED leave to intervene as a defendant in this matter.
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      The motion to intervene (ECF No. 8) is otherwise DENIED.

      IT IS SO ORDERED.


Date: July 12, 2019                 /s/ Phillip J. Green
                                    PHILLIP J. GREEN
                                    United States Magistrate Judge




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